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 1   RENE L. VALLADARES
     Federal Public Defender
 2   Nevada State Bar No. 11479
     BENJAMIN F. J. NEMEC
 3   Assistant Federal Public Defender
     Nevada State Bar No. 14591
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     Las Vegas, Nevada 89101
 5   (702) 388-6577/Phone
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 6   Ben_Nemec@fd.org

 7   Attorney for David Lemont Womack

 8
                                 UNITED STATES DISTRICT COURT
 9
                                      DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                              Case No. 2:18-cr-00203-RFB-CWH

12                  Plaintiff,                              STIPULATION TO CONTINUE
                                                            STATUS CONFERENCE
13          v.
                                                            HEARING
14   DAVID LEMONT WOMACK,                                   (Second Request)

15                  Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Christopher Chiou,
18   Acting United States Attorney, and Allison Reese, Assistant United States Attorney, counsel
19   for the United States of America, and Rene L. Valladares, Federal Public Defender, and
20   Benjamin F. J. Nemec, Assistant Federal Public Defender, counsel for David Lemont Womack,
21   that the Status Conference Hearing currently scheduled on November 30, 2021 be continued to
22   a date and time convenient to the Court, but no sooner than ninety (90) days.
23          This Stipulation is entered into for the following reasons:
24          1.      Mr. Womack has pending state charges. Additional time is necessary to allow
25   Mr. Womack to resolve his state case.
26
        Case 2:18-cr-00203-RFB-CWH Document 58 Filed 11/30/21 Page 2 of 3




 1          2.     Defense counsel has a trial scheduled for November 30, 2021, which conflicts
 2   with the scheduled status check.
 3          3.     Parties agree to the continuance.
 4          4.     Mr. Womack does not object to the continuance.
 5          This is the second request for a continuance of the Status Conference Hearing.
 6          DATED this 29th day of November 2021.
 7
 8    RENE L. VALLADARES                               CHRISTOPHER CHIOU
      Federal Public Defender                          Acting United States Attorney
 9
10
      By /s/ Benjamin F. J. Nemec                      By /s/ Allison Reese
11    BENJAMIN F. J. NEMEC                             ALLISON REESE
      Assistant Federal Public Defender                Assistant United States Attorney
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        Case 2:18-cr-00203-RFB-CWH Document 58 Filed 11/30/21 Page 3 of 3




 1                              UNITED STATES DISTRICT COURT

 2                                  DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                          Case No. 2:18-cr-00203-RFB-CWH
 4
                   Plaintiff,                           ORDER
 5
            v.
 6
     DAVID LEMONT WOMACK,
 7
                   Defendant.
 8
 9
            IT IS THEREFORE ORDERED that the Status Conference Hearing currently
10
     scheduled on November 30, 2021 at 9:00 am., be vacated and continued to
11
      Feb 1, 2022
     ________________ at the hour of            9   00 __.m.
                                               ___:___  a
12
                        30th day of November 2021.
            DATED this ____
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14
                                               RICHARD F. BOULWARE, II
15                                             UNITED STATES DISTRICT JUDGE
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